8:02-cr-00353-BCB-SMB         Doc # 649   Filed: 04/28/08    Page 1 of 1 - Page ID # 3673




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )           CASE NO. 8:02CR353
                                             )
                      Plaintiff,             )
                                             )
      vs.                                    )                  JUDGMENT
                                             )
ROY C. STRAUGHAN,                            )
                                             )
                      Defendant.             )

      In accordance with the accompanying Memorandum and Order,

      IT IS ORDERED:

      1.      The Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody (“§ 2255 motion”) (Filing No. 619) is

denied; and

      2.      The Clerk is directed to mail a copy of this Judgment to the Defendant at his

last known address.

      DATED this 28th day of April, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
